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 1   NORMAN C. HILE (STATE BAR NO. 57299)
     MARY NEBGEN (STATE BAR NO. 217451)
 2   ANALEA J. PATTERSON (STATE BAR NO. 229918)
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 5
     Attorneys for Defendant
 6   Le Gourmet Chef Inc., sued herein as “Housewares Stores of
     California, Inc., dba Le Gourmet Chef”
 7

 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10

11   GARY PALMER,                                     Case No. 2:05-CV-01935-MCE-GGH
12                 Plaintiff,
                                                      STIPULATION AND ORDER TO
13          v.                                        EXTEND TIME FOR DEFENDANT
                                                      LE GOURMET CHEF, INC., TO
14   CHELSEA FINANCING PARTNERSHIP,                   ANSWER COMPLAINT
     LP; AEROGROUP RETAIL HOLDINGS,
15   INC dba AEROSOLES #817; PACIFIC
     BRANDS RETAIL GROUP I, INC. dba
16   BALBOA BEACH COMPANY; BEBE
     STORES, INC. dba BEBE STORE #719; BIG
17   DOG USA, INC. dba BIG DOG
     SPORTSWEAR #209; RETAIL BRAND
18   ALLIANCE, INC. dba BROOKS
     BROTHERS; SKETCHER USA, INC. dba
19   SKETCHER’S USA #1215; THE WILLIAM
     CARTER COMPANY dba CARTER’S
20   CHILDRENWEAR #659; RETAIL BRAND
     ALLIANCE, INC. dba CASUAL CORNER
21   AND PETITE SOPHISTICATE OUTLET;
     CLAIRE’S BOUTIQUES, INC. dba
22   CLAIRE’S BOUTIQUES; THE DRESS
     BARN, INC. dba DRESSBARN #2860;
23   EDDIE BAUER, INC. dba EDDIE BAUER;
     BROWN GROUP RETAIL, INC. dba
24   FACTORY BRAND SHOES; LCUT
     RETAIL STORES dba FABERWARE;
25   FOSSIL STORES I, INC. dba FOSSIL
     STORE; PHILLIPS-VAN HEUSEN
26   CORPORATION dba GEOFFREY BEENE
     #18; GAP (TEXAS) L.P. dba GAP; KIM
27   DONGMOON dba GILCHRIST GALLERY;
     GLASSWARE HOUSE, INC. dba
28   GLASSWARE HOUSE; BEAR CREEK
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 1   STORES, INC. dba HARRY AND DAVID;
     THE IZOD CORPORATION dba IZOD
 2   #727; K 13 TOY OF CALIFORNIA, INC.
     dba K B TOY LIQUIDATORS #4280;
 3   JONES RETAIL CORP. dba KASPER; THE
     KITCHEN COLLECTION dba KITCHEN
 4   COLLECTION FACTORY OUTLET; COLE
     SFC, LLC dba KENNETH COLE;
 5   SARAMAR, LLC dba L’ EGGS HANES
     BALI PLAYTEX #126; HOUSEWARES
 6   STORES OF CALIFORNIA, INC. dba LE
     GOURMET CHEF; HUB DISTRIBUTING,
 7   INC. dba LEVI’S OUTLET BY MOST;
     TOO, INC. dba LIMITED TOO; LITTLE ME
 8   RETAIL STORES OF CAMARILLO,
     CALIFORNIA LLC dba LITTLE ME;
 9   L.C.FOOTWEAR, LLC dba LIZ
     CLAIBORNE; MOTHERS WORK, INC. dba
10   MOTHERHOOD MATERNITY #1652;
     BROWN GROUP RETAIL, INC. dba
11   NATURALIZER SHOES; NAUTICA
     RETAIL USA, INC. dba NAUTICA; NIKE
12   RETAIL SERVICES, INC. dba NIKE
     FACTORY OUTLET; NINE WEST GROUP,
13   INC. dba NINE WEST OUTLET STORE
     #2516; OSHKOSH B’ GOSH RETAIL, INC.
14   dba OSHKOSH B’ GOSH #135; PACIFIC
     SUNWEAR STORES, CORP. dba PACIFIC
15   SUNWEAR; MAGNIFIQUE PERFUME
     AND COSMETICS, INC. dba
16   PERFUMANIA; PUMA NORTH
     AMERICA, INC. dba PUMA; ROCKY
17   MOUNTAIN CHOCOLATE FACTORY,
     INC. dba ROCKY MOUNTIAN
18   CHOCOLATE FACTORY; RUE21, INC.
     dba RUE 21; SCCA, LLC dba SAKS OFF
19   FIFTH AVENUE; SAMSONITE COMPANY
     STORES, INC. dba SAMSONITE
20   COMPANY STORE; SARAMAR, LLC dba
     SOCKS GALORE & MORE #85; D.S.A.
21   ENTERPRISES, INC. dba SPORTS FEVER;
     STRIDE RITE CHILDREN’S GROUP, INC.
22   dba STRIDE RITE OUTLET #6035;
     STYLES FOR LESS, INC. dba STYLES
23   FOR LESS; SUNGLASS HUT TRADING
     CORPORATION dba SUNGLASS HUT
24   #2963; THE BOMBAY COMPANY, INC.
     dba THE BOMBAY COMPANY #176;
25   JOCKEY INTERNATIONAL GLOBAL,
     INC. dba THE JOCKEY STORE; PA
26   ACQUISITION CORP. dba THE PAPER
     OUTLET; TOMMY HILLFIGER RETAIL,
27   LLC dba TOMMY HILLFIGER; TOTES
     ISOTONER CORPORATION dba TOTES
28   FACTORY WORLD; ULTRA STORES,
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 1   INC. dba ULTRA DIAMOND OUTLET;
     PHILLIPS-VAN HEUSEN CORPORATION
 2   dba VAN HEUSEN #235; VANS, INC. dba
     VANS, INC.; VITAMIN WORLD, INC. dba
 3   VITAMIN WORLD INC. #4912;
     WATERFORD WEDGWOOD USA, INC.
 4   dba WATERFORD WEDGWOOD;
     WELCOME HOME, INC. dba WELCOME
 5   HOME; ROSEDALE WILSONS, INC. dba
     WILSON’S LEATHER; ZUMIEZ, INC. dba
 6   ZUMIEZ #243; PVH CK STORES, INC. dba
     CALVIN KLEIN; HUSH PUPPIES RETAIL,
 7   INC. dba HUSH PUPPIES & FAMILY #614;
     GUESS? RETAIL, INC. dba GUESS; JONES
 8   RETAIL CORP. dba EASY SPIRIT; ZALE
     DELAWARE, INC. dba ZALES; D.G.
 9   SMITH ENTERPRISES, INC. dba TACO
     BELL; DAYJOYE ENTERPRISES, INC. dba
10   MRS. FIELDS; DAYJOYCE
11                  Defendants.
12

13
            Plaintiff Gary Palmer, by and through his attorneys of record, the Law Offices of Lynn
14
     Hubbard, and Defendant Le Gourmet Chef, Inc., sued herein as “Housewares Stores of
15
     California, Inc., dba Le Gourmet Chef” (“Le Gourmet Chef, Inc.”) by and through its attorneys of
16
     record, Orrick, Herrington & Sutcliffe, LLP, agree and stipulate as follows:
17

18          Defendant Le Gourmet Chef, Inc. was served with the Plaintiff’s initial Complaint in the

19   above-captioned matter on October 13, 2005. Plaintiff and Defendant Le Gourmet Chef, Inc. are

20   actively engaged in settlement discussions. To permit the parties to continue such discussions

21   without added obligations and expense, Plaintiff and Defendant Le Gourmet Chef, Inc., stipulate

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 1   and agree that Le Gourmet Chef, Inc. may have up to and including December 20, 2005 within
 2   which to file an Answer, move, or otherwise respond to, Plaintiff’s initial Complaint in this
 3   action.
 4
                    IT IS SO STIPULATED.
 5
     DATED: December 8, 2005                      ORRICK, HERRINGTON & SUTCLIFFE, LLP
 6

 7

 8                                                By:
                                                         Mary Nebgen
 9                                                       Attorney for Defendant
                                                         LE GOURMET CHEF, INC.
10

11   DATED: December 8, 2005                      THE LAW OFFICES OF LYNN HUBBARD

12

13                                                By:
                                                         Attorney for Plaintiff
14                                                       GARY PALMER

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 1                                                ORDER

 2                  The Court, having considered the foregoing stipulation and finding good cause,
 3   hereby orders that Defendant Le Gourmet Chef, Inc. shall have up to and including December 20,
 4   2005 to file their responsive pleadings to the Plaintiff’s Complaint filed in the above-captioned
 5   action.
 6                  IT IS SO ORDERED.
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 8   Dated: December 13, 2005

 9                                             __________________________________
                                               MORRISON C. ENGLAND, JR
10                                             UNITED STATES DISTRICT JUDGE
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